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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA                                    L 1
                                      Richmond Division
                                                                                        NOV - 8 2G18
 WAYNE LEWIS,
                                                                                   CLERK, U.S.          COURl
                                                                                         RICHMOND. VA
        Plaintiff,

                                                             Civil Action No. 3:17CV69-HEH


 J.D. WINFREE,et al.

        Defendants.

                                MEMORANDUM OPINION
                        (Granting Motion for Summary Judgment)

        Wayne Lewis, a federal inmate proceeding pro se and informa pauperis, filed this

 42 U.S.C. § 1983 action. Lewis's claims flow from a conviction for an institutional

 infraction when he was incarcerated in the Pamunkey Regional Jail. Lewis names the

 following individuals as the defendants: Sergeant J.D. Winfree; Captain S.L. Cook; and

 Superintendent James C. Willett("Defendants"). Lewis demands relief upon the

 following grounds:

 Claim 1        Defendant Winfree placed Lewis in a strip cell on October 26, 2015 for
                allegedly breaking a sprinkler in his cell. (ECF No. 2, at 3.) In the strip
                cell, Lewis was left "'naked', without a bed mattress, and no adequate
                drinking water, including [Lewis] not [being] able to shower for
                approximately 8-days." {Id. (citation omitted).)' Such actions violated
                Lewis's rights under(a)the Eighth Amendment,{id.), and (b)the Due
               Process Clause,{id. at 4).

 Claim 2        Defendant Cook discriminated under the Equal Protection Clause against
                Lewis when Cook gave Lewis a 60-day sanction for breaking the sprinkler,
                but ultimately reduced Lewis's white cellmate's sanction to merely twenty
                days. (ECF No. fat 4.)

'The Court corrects the capitalization, spelling, spacing, and punctuation in the quotations from
 the parties' submissions.
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